 Case 2:23-cv-00390-JRG Document 18 Filed 11/28/23 Page 1 of 1 PageID #: 63




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


Autoscribe Corporation                      §
                                            §
            Plaintiff                       §
       v.                                   §      Civil Action No. 2:23-cv-00390-JRG
                                            §
Payment Savvy, LLC                          §
                                            §
              Defendant                     §


                          NOTICE OF ATTORNEY APPEARANCE

       The undersigned attorney hereby enters an appearance as counsel of record for Defendant

Payment Savvy, LLC and is authorized to receive service of all pleadings, notices, orders, and

other papers in the above-captioned matter on behalf of Defendant.

Dated: November 28, 2023                           Respectfully submitted,



                                                   Michael C. Smith
                                                   State Bar No. 18650410
                                                   Scheef & Stone, LLP
                                                   113 E. Austin Street
                                                   Marshall, Texas 75670
                                                   Office: (903) 938-8900
                                                   michael.smith@solidcounsel.com

                                                   COUNSEL FOR DEFENDANT,
                                                   PAYMENT SAVVY, LLC
